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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


Miguel Angel ESCALANTE, et al.,

            Plaintiffs,

      v.                                 No. 1:22-cv__________________


U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, et al.,

            Defendants.



  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR APPLICATION FOR A
                 TEMPORARY RESTRAINING ORDER
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                                        INTRODUCTION

       Plaintiffs Miguel Angel Escalante, Kenet Jefet Hernandez Herrera, Anna Sorokin, and

Ramon Dominguez Gonzalez (collectively, “Plaintiffs”) are medically vulnerable people held by

U.S. Immigration and Customs Enforcement (“ICE”), Acting Director of ICE Tae D. Johnson,

and U.S. Department of Homeland Security (“DHS”), and DHS Secretary Alejandro N.

Mayorkas (collectively “Defendants”) at detention facilities while they await adjudication of

their civil immigration cases. As COVID-19 has spread rapidly in ICE detention facilities,

Plaintiffs fear for their health and their lives. Since the emergence of the Omicron variant,

COVID-19 has surged in ICE detention centers. The number of COVID-19 infections in ICE

detention grew by over 800 percent in January 2022 alone. 1 Over one in 20 people in ICE

detention are currently infected with COVID-19. 2

       Plaintiffs, who are eligible for COVID-19 vaccine booster doses, have not been able to

receive COVID-19 booster shots in detention. COVID-19 vaccine booster shots provide critical

protection against serious illness and death from the virus: messenger RNA (“mRNA”) booster

shots are 90 percent effective against hospitalization due to the Omicron variant, in comparison

to 57 percent for vaccinated people without boosters. Declaration of Dr. Tara Vijayan (“Vijayan

Decl.”) ¶ 21. A vaccinated person without an mRNA vaccine booster shot is approximately three

and a half times more likely to be hospitalized and four times more likely to die from COVID-19

than a vaccinated person with an mRNA vaccine booster shot. Declaration of Dr. Eric Feigl-Ding



1
  Declaration of Nathalie E. Amazan (“Amazan Decl.”), Ex. A, Camilo Montoya-Galvez,
Government Medical Advisors Urge ICE to Expand COVID-19 Vaccinations for Immigrant
Detainees, CBS NEWS (Jan. 26, 2022), https://www.cbsnews.com/news/immigration-ice-
detainees-covid-19-vaccines/ (noting increase by 848 percent between January 3 and 26, 2022).
2
  Amazan Decl. Ex. B, ICE, ICE Guidance on COVID-19: Detainee Statistics (updated Feb. 28,
2022), https://www.ice.gov/coronavirus#detStat (noting that 1,001 of 18,203 people in ICE
detention, or over five percent, have currently tested positive for COVID-19).
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¶ 26 (“Feigl-Ding Decl.”). For this reason, the federal government has repeatedly emphasized the

importance of COVID-19 vaccine booster shots, encouraging the public to receive boosters as

soon as they are eligible. 3 The Centers for Disease Control and Prevention (CDC) has likewise

advised all detention centers to “provide COVID-19 vaccination, including boosters,” to all those

who are held or work in a detention facility. 4

       Plaintiffs, however, have not been able to receive booster shots. They have requested

booster shots at their detention facilities, but they have been told that none are available, or that

they should wait an indeterminate period of time, or their requests have simply been ignored.

One Plaintiff, Mr. Dominguez Gonzalez, was offered only the Johnson & Johnson booster shot,

which fails to provide adequate protection, and was told an mRNA booster shot is not available.

The Johnson & Johnson booster shot provides limited protection against the Omicron variant,

has a greater risk of serious side effects in comparison to the mRNA vaccines, 5 and falls below

the established professional standard of medical care, unless there is a contraindication to the

mRNA vaccine. Vijayan Decl. ¶¶ 23–24; 6 Feigl-Ding Decl. ¶ 24.

       The CDC has instructed that detention facilities provide and ensure availability of



3
  See, e.g., Amazan Decl. Ex. C, Press Release, The White House, Statement by President Joe
Biden on the Omicron COVID-19 Variant (Nov. 26, 2021),
https://www.whitehouse.gov/briefing-room/statements-releases/2021/11/26/statement-by-
president-joe-biden-on-the-omicron-covid-19-variant/ (“Get your booster shot now . . . .”).
4
  Amazan Decl. Ex. D, CDC, Interim Guidance on Management of Coronavirus Disease 2019
(COVID-19) in Correctional and Detention Facilities (Feb. 15, 2022),
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
5
  Amazan Decl. Ex. E, CDC, Johnson & Johnson’s Janssen COVID-19 Vaccine Overview and
Safety, https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines/janssen.html
(updated Dec. 28, 2021) (“In most situations, Pfizer-BioNTech or Moderna COVID-19 vaccines
are preferred over the J&J/Janssen COVID-19 vaccine for primary and booster vaccination due
to the risk of serious adverse events.”).
6
  Amazan Decl. Ex. F, CDC, COVID-19 Vaccine Booster Shots,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/booster-shot.html (updated Jan. 21, 2022).
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COVID-19 vaccines, “including boosters,” for all detainees. 7 In spite of this guidance,

knowledge that ICE detains approximately 5,200 people who are medically vulnerable to serious

illness and death from COVID-19, 8 and ample knowledge for at least four months that vaccine

booster shots provide critically important protection against the virus, Defendants have done

little to ensure that people in their custody can receive booster shots. As of this date, ICE has not

given any instruction directing that its approximately 200 detention facilities provide mRNA

COVID-19 booster shots to detained people. ICE also has no plan in place to ensure

identification and notification of detained people who are eligible for booster shots, nor does it

have any plan to educate detained people about the importance of booster doses. As a result,

medically vulnerable people in immigration detention lack this basic, widely available, and

critical protection against a lethal virus.

        Plaintiffs bring this emergency request for a Temporary Restraining Order requiring

Defendants to make available and provide them with mRNA COVID-19 vaccine booster shots in

accordance with CDC guidance. Plaintiffs are likely to succeed on their claims that Defendants’

failure to provide booster shots violates their Fifth Amendment due process rights by imposing

an unreasonable risk to their health and safety, and constitutes unlawful punishment. Without

prompt provision of COVID-19 vaccine booster shots, Plaintiffs in this case lack adequate

protection against serious illness and death from COVID-19. The Temporary Restraining Order

should be granted.

                                I.      FACTUAL BACKGROUND



7
  CDC, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
Correctional and Detention Facilities, supra note 4.
8
  Amazan Decl. Ex. G, Camilo Montoya Galvez, Coronavirus Infections inside U.S. Detention
Surge by 520 Percent in 2022, CBS NEWS (Jan. 14, 2022),
https://www.cbsnews.com/news/immigration-detention-covid-cases-surge/.
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    A. COVID-19 Vaccine Booster Shots Are Necessary to Protect Plaintiffs from Serious
       Illness and Death from COVID-19, Especially in Light of the Omicron Variant.

       COVID-19 continues to pose a significant risk of serious illness and death, with more

than 4.4 million new cases and over 61,557 new deaths in the United States in the past four

weeks alone. 9 The highly infectious Omicron variant, which began to spread widely in the

United States in the past three months, is five times as contagious as the original form of the

COVID-19 virus. Vijayan Decl. ¶ 9. As of February 19, 2022, nearly all COVID-19 cases in the

United States were estimated to have been caused by the Omicron variant. Id.; Feigl-Ding Decl.

¶ 9. Although in many cases, the Omicron variant may cause mild illness, those with underlying

medical conditions and who are immunocompromised continue to face a substantial risk of

serious illness or death from COVID-19. Vijayan Decl. ¶ 10; Feigl-Ding Decl. ¶ 15.

        Moreover, there is growing concern among medical experts and the CDC regarding the

new “BA.2” subvariant of Omicron, which “has 17 additional mutations that the original

Omicron BA.1 sublineage does not possess” and “is clearly displacing and out-competing all

other variants across multiple countries, thereby posing a serious looming threat.” Feigl-Ding

Decl. ¶ 21. The BA.2 subvariant “is significantly more infectious than the BA.1 sublineage of

Omicron, and seems to be even more severe.” Id. ¶ 7. A recent study found that “[t]he viral RNA

load in the lung periphery and histopathological disorders of BA.2 were more severe than those

of [earlier subvariants of the Omicron variant]” and concluded that “the possibility that BA.2

would be the most concerned variant to global health,” proposing “that BA.2 should be

recognized as a unique variant of concern, and this [COVID-19] variant should be monitored in

depth.” Id. ¶ 23. In Denmark, where the BA.2 subvariant is the dominant form of COVID-19,


9
 Amazan Decl. Ex. H, Johns Hopkins University Coronavirus Resource Center, COVID-19
Dashboard, https://coronavirus.jhu.edu/map.html (last visited Feb. 28, 2022).
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excess deaths attributable to the virus are surging. Id. The BA.2 subvariant has already jumped to

3.8 percent of COVID-19 cases in the United States as of February 19, 2022,8 and is expected to

increase as it has in other countries. Id. ¶¶ 21-23; Vijayan Decl. ¶ 10

       The risk of spread of COVID-19 is heightened in high-risk settings such as ICE detention

facilities. Vijayan Decl. ¶¶ 8, 15–18; Feigl-Ding Decl. ¶ 13. As the CDC has explained,

“[p]eople in correctional and detention facilities are at greater risk for some illnesses, such as

COVID-19, because of close living arrangements with other people.” 10 Once present in a

detention facility, COVID-19 spreads quickly. As a recent study has shown, COVID-19 case

rates in ICE detention were, on average at least 5.3 times higher than in the state-matched U.S.

population. 11 According to ICE’s own data, 1,001 people in ICE detention facilities as of

February 28, 2022 are currently positive for COVID-19, comprising over five percent of all

detainees in custody. 12

       The risk of serious illness and death due to COVID-19 is greatest among those who are

unvaccinated and those who are vaccinated and eligible for a booster shot but have not received

one. Booster doses of mRNA vaccines are critical to preventing hospitalization and death caused

by COVID-19, and to reduce transmission within a detention facility. Vijayan Decl. ¶ 20; Feigl-

Ding Decl. ¶ 24. Recent data published by the CDC confirms that with the rise of the Omicron

variant, mRNA vaccine booster shots (Pfizer-BioNTech and Moderna) are 90 percent effective




10
   Amazan Decl. Ex. I, CDC, FAQs for Correctional and Detention Facilities,
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/faq.html (updated
Jan. 26, 2021).
11
   Amazan Decl. Ex. J, Nishant Uppal, Elizabeth Chin, and Parsa Erfani, Trends in
Decarceration, COVID-19 Cases, and SARS-CoV-2 Testing in U.S. Immigration Detention
Centers from September 2020 to August 2021, JAMA Network Open (Feb. 16, 2022),
https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2789087.
12
   ICE, ICE Guidance on COVID-19: Detainee Statistics, supra note 2.
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against hospitalization, whereas two doses of the vaccine without the booster are only 57 percent

effective against hospitalization. Vijayan Decl. ¶ 21. Fortunately, mRNA booster shots are also

effective against the Omicron BA.2 subvariant. Feigl-Ding Decl. ¶ 28; Vijayan Decl. ¶ 11.

        The federal government has repeatedly emphasized the importance of the COVID-19

vaccine booster shots. Since October 21, 2021, the CDC has encouraged all individuals 18 and

older who are eligible and live in high-risk settings, which include ICE detention facilities, to

receive a booster shot for protection against serious illness and death from COVID-19. 13 The

White House issued a statement on December 2, 2021 that “[a]s we face the Omicron variant,

boosters are more important than ever. Boosters increase the strength of your antibody response,

so when the virus mutates, a booster makes it more likely that your antibodies can protect you

against the new variant.” 14 The CDC’s COVID-19 guidance for correctional and detention

facilities instructs that facilities should “at all times” “provide COVID-19 vaccination, including

boosters.” 15

        Under current CDC guidance, all individuals who initially received a Pfizer-BioNTech or

Moderna vaccine are eligible for a COVID-19 booster shot once five months have elapsed after

completion of their primary vaccination series. Individuals who received a Johnson & Johnson



13
   Amazan Decl. Ex. K, Press Release, CDC, CDC Expands Eligibility for COVID-19 Booster
Shots (Oct. 21, 2021), https://www.cdc.gov/media/releases/2021/p1021-covid-booster.html.
14
   Amazan Decl. Ex. L, Press Release, The White House, President Biden Announces New
Actions to Protect Americans Against the Delta and Omicron Variants As We Battle COVID-19
This Winter (Dec. 2, 2021), https://www.whitehouse.gov/briefing-room/statements-
releases/2021/12/02/fact-sheet-president-biden-announces-new-actions-to-protect-americans-
against-the-delta-and-omicron-variants-as-we-battle-covid-19-this-winter/; see also Amazan
Decl. Ex. M, The White House, President Biden on the Omicron Variant: Vaccination and
Boosters Offer High Level of Protection, YOUTUBE (Dec. 28, 2021),
https://www.youtube.com/watch?app=desktop&v=aQj4ecpAMUQ; Press Release, CDC, CDC
Expands COVID-19 Booster Recommendations, supra note 11.
15
   CDC, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
Correctional and Detention Facilities, supra note 4.
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vaccine are eligible for a COVID-19 booster two months after completion of their primary

vaccination dose. The CDC recommends that everyone 18 and older—and, in the case of

individuals who initially received a Pfizer-BioNTech vaccine, 12 and older—receive a booster

shot. 16 In cases where a patient has recently developed COVID-19, vaccines can be provided

after symptoms have subsided and criteria for ending isolation is met (currently at least five days

after a positive test and as long as symptoms improve. Vijayan Decl. ¶ 22.

       A booster shot of an mRNA vaccine such as Moderna or Pfizer-BioNTech is necessary to

provide effective immunity against the Omicron variant. It is now clear that mRNA vaccines

produce immunologically superior responses when used as a booster dose and are highly

preferable to the viral vector Johnson & Johnson vaccine. Vijayan Decl. ¶ 23; Feigl-Ding Decl.

¶¶ 24-25. The CDC has also clarified that “Pfizer-BioNTech or Moderna COVID-19 vaccines

are preferred over the J&J/Janssen COVID-19 vaccine for primary and booster vaccination due

to the risk of serious adverse events.” 17 Indeed, the CDC instructs that, prior to vaccination,

patients “should be informed that mRNA vaccines are preferred over the [Johnson & Johnson]

COVID-19 Vaccine” and that “[a]ll people who elect to receive a Janssen COVID-19 Vaccine

booster should be informed about the risk and symptoms of TTS [(thrombosis with

thrombocytopenia syndrome—a blood clotting disease)] that could occur after vaccination . . .

and the availability of mRNA COVID-19 vaccines instead of the Janssen COVID-19 Vaccine.” 18

       As a result, the established standard of medical care is to provide mRNA booster shots to




16
   CDC, COVID-19 Vaccine Booster Shots, supra note 6.
17
   CDC, Johnson & Johnson’s Janssen COVID-19 Vaccine Overview and Safety, supra note 5.
18
   Amazan Decl. Ex. N, CDC, Interim Clinical Considerations for Use of COVID-19 Vaccines
Currently Approved or Authorized in the United States (Jan. 6, 2022),
https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
us.html#considerations-covid19-vax-booster.
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eligible patients; offering only a Johnson & Johnson vaccine booster, absent a medical

contraindication, would fall below the established standard of care. Feigl-Ding Decl. ¶ 25;

Vijayan Decl. ¶ 24; see also Amazan Decl. Ex. O (Letter from Concerned Medical Faculty to

DHS Secretary Alejandro Mayorkas and ICE Acting Director Tae D. Johnson, Jan. 27, 2022);

Amazan Decl. Ex. P (Letter from DHS Medical Experts Dr. Scott Allen and Dr. Josiah Rich to

DHS Secretary Mayorkas and ICE Acting Director Johnson, Jan. 26, 2022).

         In light of this evidence, the CDC has formally recommended in its guidance that the

Johnson & Johnson vaccine should only be given as a booster shot in rare circumstances, such as

if someone “[h]ad a severe reaction after an mRNA vaccine dose” or “ha[s] a severe allergy to an

ingredient of Pfizer-BioNTech or Moderna,” if they “[w]ould otherwise remain unvaccinated for

COVID-19 due to limited access to Pfizer-BioNTech or Moderna,” or “[w]ants to get the

J&J/Janssen COVID-19 vaccine despite the safety concerns.” 19

         Defendants have no plausible argument that they have “limited access to Pfizer-

BioNTech or Moderna” to provide mRNA booster shots to people in their custody. The mRNA

vaccines continue to be widely available in the United States. Indeed, the CDC issued its

guidance in support of the use of mRNA boosters noting that “the U.S. supply of mRNA

vaccines is abundant – with nearly 100 million doses in the field for immediate use.” Vijayan

Decl. ¶ 25; see also Feigl-Ding Decl. ¶ 25.




19
     CDC, Johnson & Johnson’s Janssen COVID-19 Vaccine Overview and Safety, supra note 4.
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     B. Without mRNA Vaccine Booster Shots, Medically Vulnerable Plaintiffs Face a
        Heightened and Unreasonable Risk of Serious Illness and Death from COVID-19.

        Plaintiffs in this case are all medically vulnerable to COVID-19. They have been

diagnosed with medical conditions such as HIV, chronic kidney infection, neurocognitive

disorder, post-traumatic disorder, and obesity. Declaration of Miguel Angel Escalante

(“Escalante Decl.”) ¶ 2; Declaration of Kenet Jefet Hernandez Herrera (“Hernandez Herrera

Decl.”) ¶ 2; Declaration of Anna Sorokin (“Sorokin Decl.”) ¶ 2; Declaration of Ramon

Dominguez Gonzalez (“Dominguez Gonzalez Decl.”) ¶ 2. According to the CDC, individuals

with these and certain other medical conditions “are more likely to get severely ill from COVID-

19.” 20 Severe illness means that a person with COVID-19 may be hospitalized, need intensive

care, require a ventilator to help them breathe, or die. 21 Without booster shots, specifically

mRNA booster shots, Plaintiffs are particularly vulnerable to COVID-19 infection and severe

illness, including death. Vijayan Decl. ¶¶ 6–7.

        1. Plaintiffs Suffer from Medical Conditions that Place Them at Risk of Serious
           Illness or Death from COVID-19.

        Plaintiff Miguel Angel Escalante is a 36-year-old man who has been detained by ICE at

the Florence Correctional Center (“Florence”) in Florence, Arizona since approximately January

3, 2022. Escalante Decl. ¶ 1. He has been in ICE custody since July 2020 in various different

facilities in Arizona. Id. Mr. Escalante is HIV-positive and has a weakened immune system,

which makes him vulnerable to serious illness or death from COVID-19. Id. ¶ 2. ICE is aware of

his medical conditions because he has filed five requests for release, including under Fraihat v.


20
   Amazan Decl. Ex. Q, CDC, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html#:~:text=Having%20heart%20conditions%20such%20as,severely%20ill%20fro
m%20COVID%2D19 (updated Dec. 14, 2021).
21
   Id.
                                                  9
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U.S. Immigration & Customs Enforcement, which requires ICE to “make timely custody

determinations for” medically vulnerable detainees like Plaintiffs. 445 F. Supp. 3d 709, 751

(C.D. Cal. 2020), overruled by 16 F. 4th 613 (9th Cir. 2021). Id. ¶ 3. His most recent denial was

on January 11, 2022. Id. ¶ 3. Mr. Escalante received one dose of the Johnson & Johnsons vaccine

around May 20, 2021 while in ICE custody at La Palma Correctional Center. Id. ¶ 4.

       Mr. Escalante has made repeated requests for a booster shot. Id. ¶ 6. First, in November

2021, he asked the nurse staff at La Palma Correctional Center for a booster, but they informed

him that they did not have them at that time. Id. After Mr. Escalante was transferred to Florence,

he requested a booster shot from a nurse at intake. Id. Again, he was told that they were not

available. Id. Mr. Escalante subsequently requested the booster shot two more times, after which

a nurse informed him that he would be placed on a waiting list. Id. Mr. Escalante has been on

this waiting list for about a month, and has yet to receive a COVID-19 booster. Id. He also does

not know any other detainee at Florence who has received a booster shot. Id. ¶ 7. Mr. Escalante

is extremely worried about contracting COVID-19 because of his HIV status and the frequent

number of people moving through the facility. Id. ¶ 8. In particular, he wants to receive an

mRNA vaccine for more protection from the virus. Id.

       Plaintiff Kenet Jefet Hernandez Herrera is a 24-year-old man who has been detained by

ICE at the Eloy Detention Center (“Eloy”) in Eloy, Arizona since approximately June 2021.

Hernandez Herrera Decl. ¶ 1. Mr. Hernandez Herrera has several conditions that make him

vulnerable to serious illness or death from COVID-19, including post-traumatic stress disorder,

anxiety disorder, and mild neurocognitive disorder. Hernandez Herrera Decl. ¶ 2. He is also a

former smoker. Id. ICE is aware of his medical conditions because he was diagnosed and

prescribed medication for his anxiety disorder at Eloy. Id. ¶ 3. He was not vaccinated for



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COVID-19 until around July 14, 2021, when he received one dose of the Johnson & Johnson

vaccine. Id. ¶ 4.

        Since then, Mr. Hernandez Herrera has requested the COVID-19 booster shot at least

twice while at Eloy. Id. He first submitted a request in writing in early to mid-January 2022, but

he never received a response. Id. ¶ 9. Later in January, he requested a booster shot while

speaking with medical staff, but he was told that they were not available. Id. He also does not

know any other detainees at Eloy who have received a COVID-19 booster shot. Id. ¶ 10. Mr.

Hernandez Herrera has already been sick with COVID-19 once before, in June 2021, when he

had serious symptoms including difficulty breathing, a high fever, and extended cough. Id. ¶ 8.

He therefore wants a booster shot in order to protect himself from getting seriously ill from

COVID-19 in the future. Id. ¶ 7. He fears that he is already in danger at Eloy, where the guards

have mixed healthy people with those who are infected with COVID-19. Id.

        Plaintiff Anna Sorokin is a 31-year-old woman who has been detained by ICE at the

Orange County Correctional Facility (“Orange County”) in Goshen, New York since June 7,

2021. Sorokin Decl. ¶ 1. She was previously detained by ICE at the Bergen County Correctional

Facility since approximately March 25, 2021. Id. She has several medical conditions that make

her vulnerable to serious illness or death from COVID-19, including a chronic kidney infection

as well as depression, anxiety, and post-traumatic stress disorder. Id. ¶ 2. ICE is aware of her

medical conditions because she had been considered but denied release under Fraihat around

April 1, 2021, and she has recently submitted two new Fraihat requests in February 2022,

including information about her kidney condition. Id. ¶ 3. She was vaccinated for COVID-19

around April 2021, when she received one dose of the Johnson & Johnson vaccine while

detained by ICE at Bergen County Correctional Facility. Id. ¶ 4.



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       Ms. Sorokin has made multiple requests for a booster shot. Id. ¶ 7. First, she submitted a

sick call slip in December 2021, stating that she wanted a booster. Id. She never received a

response. Id. Then around January 19, 2022, she experienced her first bout of COVID-19, during

which she had a fever, persistent cough, nausea, migraines, and body aches. Id. ¶ 5. Even after

she left quarantine on January 29, 2022, she continued to experience lingering effects including

fatigue, coughing, brain fog and shortness of breath. Id. After leaving quarantine on January 29,

2022, Ms. Sorokin requested the booster again when she had a medical visit for a general check-

up. Id. ¶ 7. Although a nurse told her that she would be seen by a doctor to address this, she

never heard anything about a booster shot since then. Id. She has not heard of any other detained

people getting a booster shot in Orange County, and has not seen any information distributed

about boosters. Id. ¶ 9. She feels especially frustrated that she contracted COVID-19 after

Orange County failed to give her a booster shot upon her initial request, and she feels that the

staff have left her and other detainees unprotected in the facility. Id. ¶ X. Ms. Sorokin still would

like a booster shot as soon as she is medically eligible for one, as she is concerned about getting

sick from COVID-19 if she contracts it again. Id. ¶ 10.

       Plaintiff Ramon Dominguez Gonzalez is a 32-year-old man who has been detained by

ICE at the Imperial Regional Adult Detention Facility (“Imperial”) in Calexico, California since

approximately January 2019. Dominguez-Gonzalez Decl. ¶ 1. Mr. Dominguez Gonzalez is

clinically obese and has difficulty breathing. Dominguez-Gonzalez Decl. ¶ 2. ICE is aware of his

medical vulnerability to COVID-19 because in October 2020, Mr. Dominguez Gonzalez filed a

request for release on the basis of his medical conditions under Fraihat. Id. ¶ 3. He received a

single dose of the Johnson & Johnson vaccine around March 2021, meeting the required two-

month wait period to be eligible for a booster shot. Id. ¶ 4.



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        Mr. Dominguez Gonzalez has made multiple requests for a booster shot at Imperial, yet

has been unable to receive one. Id. ¶ 6. Initially, after submitting a request through a sick call slip

in early December 2021, he was told by a nurse that they would get back to him, but they never

did. Id. Later in the month, he requested the booster shot again at a mental health appointment,

but he never received one. Id. Mr. Dominguez Gonzalez then submitted another sick call request

inquiring about the booster around January 8, 2022, but no one explained to him why he had not

yet received a booster. Id. Shortly after, on January 17, 2022, Mr. Dominguez Gonzalez tested

positive for COVID-19. He fell ill, including suffering a fever, cough, and shortness of breath.

Id. ¶ 7. Earlier in February 2022, as many as nine out of 12 housing units in Imperial were under

quarantine for COVID-19 exposure. Id. ¶ 9.

        Mr. Dominguez Gonzalez continued to test positive for COVID-19 until January 27,

2022, when he was released from quarantine. Id. Although he became eligible for the booster, he

was not offered a booster until February 23, 2022, and his only option was the Johnson &

Johnson booster. Mr. Dominguez Gonzalez declined the Johnson & Johnson booster based on his

understanding of CDC and medical expert recommendations for mRNA boosters. Mr.

Dominguez Gonzalez wants an mRNA booster shot to receive protection and prevent himself

from getting sick from COVID-19 again. He still has breathing issues, and has no confidence in

the staff at Imperial, as he has seen them eschew COVID-19 protocols, like going to work while

still sick. Id. ¶ 10.




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       All Plaintiffs have been detained for at least several months, if not years, despite their

medical vulnerability to COVID-19. Escalante Decl. ¶ 1-2; Hernandez Herrera Decl. ¶ 1-2;

Sorokin Decl. ¶ 1-2; Dominguez Gonzalez Decl. ¶ 1-2.

       2. Plaintiffs Have Been Unable to Obtain COVID-19 Booster Shots in ICE
          Detention.

       Plaintiffs have all received their primary COVID-19 vaccine doses, and enough time has

elapsed for each of them to receive a COVID-19 booster shot. Escalante Decl. ¶ 4; Hernandez

Herrera Decl. ¶ 4; Sorokin Decl. ¶ 4; Dominguez Gonzalez Decl. ¶ 4. They have requested

booster shots, only to be told that none are available or that they should wait an indeterminate

time, or their requests have been simply ignored. Escalante Decl. ¶ 6; Hernandez Herrera Decl. ¶

9; Sorokin Decl. ¶ 7; Dominguez Gonzalez Decl. ¶ 6 Plaintiffs have not received booster shots,

leaving them acutely vulnerable to COVID-19 infection and serious illness. Escalante Decl. ¶¶

5-6; Hernandez Herrera Decl. ¶¶ 2, 8; Sorokin Decl. ¶ 7-8; Dominguez Gonzalez Decl. ¶¶ 2, 6.

Defendants have not provided Plaintiffs any information or education about booster shots.

Escalante Decl. ¶ 7; Hernandez Herrera Decl. ¶ 6; Sorokin Decl. ¶ 9. Plaintiffs report that they

are aware of the existence and benefits of booster shots only from watching television, reading

the news, or conversations with loved ones. Escalante Decl. ¶ 5; Sorokin Decl. ¶ 9; Dominguez

Gonzalez Decl. ¶ 10.

  C. Defendants Have Failed to Provide COVID-19 Vaccine Boosters to Immigrant
     Detainees.

       It is evident that Defendants lack any consistent plan to ensure that eligible detainees,

such as Plaintiffs, are provided with COVID-19 booster shots. ICE’s current version of the

Pandemic Response Requirements (“PRR”), which establishes COVID-19 mitigation

requirements for detention facilities that hold ICE detainees, contains no provision regarding


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booster doses, even though the CDC has encouraged eligible individuals, including Plaintiffs, to

receive a booster shot since October 21, 2021. 22 The ICE Health Service Corps (”IHSC”)

COVID-19 Vaccination Guidelines and Protocol, issued on January 25, 2021, applies only to

approximately 20 of ICE‘s 200 detention facilities nationwide, and provides no guidance

whatsoever regarding booster shots. 23 ICE’s failure to adopt a system-wide booster shot plan is

clear from the paltry number of booster shots it has administered to individuals in its custody.

Over four months, between November 2021 and February 21, 2022 (when data was last made

public), Defendants have provided a mere total of 1,436 boosters to people detained in ICE

detention facilities despite holding between 18,800 to 22,000 people on a day-to-day average. 24

       Defendants’ failure to provide booster shots to eligible detainees carries particularly

severe consequences for medically vulnerable detainees. According to a recent news report, as of

late December 2021, ICE detained approximately 5,200 immigrants whose health issues or age

place them at higher risk of severe illness or death if they contract COVID-19. 25 Under the terms




22
   Amazan Decl. Ex. R, ICE, ICE ERO COVID-19 Pandemic Response Requirements (Version
7.0) 6 (Oct. 19, 2021),
https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities.pdf
(providing that the PRR “sets forth expectations and assists ICE detention facility operators in
sustaining detention operations while mitigating risk to the safety and wellbeing of detainees,
staff, contractors, visitors, and stakeholders due to COVID-19”).
23
   Amazan Decl. Ex. S, ICE Health Service Corps, COVID-19 Vaccination Guidelines and
Protocol, OM-21-001 (Jan. 25, 2021); Amazan Decl. Ex. T, ICE Health Service Corps Fiscal
Year 2020 34 (2021), https://www.ice.gov/doclib/ihsc/IHSCFY20AnnualReport.pdf.
24
   Declaration of Dr. Ada Rivera, Shaikh v. U.S. Immigr. & Customs Enf’t, No. 1:22-cv-00231, ¶
31 (D.D.C. Feb. 24, 2022), ECF No. 22-6; Camilo Montoya-Galvez, Coronavirus Infections
inside U.S. Immigration Detention Centers Surge by 520% in 2022, supra note 8 (noting daily
average of 22,000 detainees); Amazan Decl. Ex. JJ, ICE, ICE Guidance on COVID-19: ICE
Detainee Statistics
https://web.archive.org/web/20220222183148/https://www.ice.gov/coronavirus (updated Feb.
22, 2022) (noting daily average of 18,800 detainees in custody as of February 21, 2022).
25
   Camilo Montoya-Galvez, Coronavirus Infections inside U.S. Immigration Detention Centers
Surge by 520% in 2022, supra note 8.
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of a preliminary injunction that remains in effect, ICE is required to review their medical

histories and consider releasing these individuals from detention. 26 Nevertheless, many

medically vulnerable individuals remain detained in ICE custody, often for several months, if not

years.

         Compounding the danger of ICE’s failure to adopt a booster shot plan is its reliance on

the Johnson & Johnson vaccine for detainees’ primary vaccine dose, 27 which is less effective

against COVID-19 variants. Each Plaintiff has only received one dose of the Johnson & Johnson

vaccine. Escalante Decl. ¶ 4; Hernandez Herrera Decl. ¶ 4; Sorokin Decl. ¶ 4; Dominguez

Gonzalez Decl. ¶ 4. Recent data show that mRNA vaccines are most effective at reducing viral

transmission and controlling COVID-19 infections, as compared to the Johnson & Johnson

vaccine which also carries a greater risk of serious side effects. Vijayan Decl. ¶¶ 21, 23; Feigl-

Ding Decl. ¶¶ 25, 30. Studies also show that the Johnson & Johnson vaccine does not produce

sufficient quantities of antibodies against Omicron. 28 Vijayan Decl. ¶¶ 21, 23. In fact, due to



26
   Fraihat v. ICE, 445 F. Supp. 3d 709 (C.D. Cal. 2020), overruled by Fraihat v. ICE, 16 F.4th
613 (9th Cir. 2021); see also 9th Cir. R. 41-2 (timing of mandate) (providing that a mandate will
issue seven days after the time to file a motion for reconsideration expires); Order Granting
Appellees’ Second Unopposed Motion for Extension of Time to File Petition for
Rehearing, Fraihat v. ICE, No. 20-55634 (9th Cir. Jan. 4, 2022), ECF No. 88 (requiring petition
for rehearing to be filed on or before Apr. 5, 2022).
27
   Amazan Decl. Ex. U, Priscilla Alvarez, DHS Begins Administering J&J Vaccine to Immigrant
Detainees, CNN POLITICS (July 13, 2021), https://www.cnn.com/2021/07/13/politics/immigrant-
detainees-vaccine-dhs/index.html; Amazan Decl. Ex. P, Letter from DHS Medical Experts Dr.
Scott Allen and Dr. Josiah Rich to DHS Secretary Mayorkas and Acting ICE Director Johnson,
at 3 (Jan. 26, 2022), https://whistleblower.org/wp-content/uploads/2022/01/012622-LETTER-
TO-MAYORKAS-FROM-DRS-RE-COVID-IN-IMM-DETENTION.pdf (“DHS has offered
vaccination to detainees with the single shot Johnson & Johnson (J&J) vaccine, an approach that
at one time was appropriate.”).
28
   Amazan Decl. Ex. V, Wesley H. Self, MD, et al., Comparative Effectiveness of Moderna,
Pfizer-BioNTech, and Janssen (Johnson & Johnson) Vaccines in Preventing COVID-19
Hospitalizations Among Adults Without Immunocompromising Conditions — United States,
March–August 2021, CDC (Sep. 24, 2021),
https://www.cdc.gov/mmwr/volumes/70/wr/mm7038e1.htm.
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efficacy concerns, the CDC has even authorized second mRNA booster doses for those who

originally received a Johnson & Johnson vaccine.44

       1. Defendants Knew of the Risk Posed to Plaintiffs by Their Failure to Provide
          COVID-19 Booster Shots.

       Defendants are aware that Plaintiffs are medically vulnerable. All of the Plaintiffs have

been diagnosed with medical conditions while in ICE custody or have submitted requests for

release to ICE referencing their medical conditions, including requests under the terms of the

preliminary injunction issued in Fraihat, which requires ICE to “make timely custody

determinations for” medically vulnerable detainees like Plaintiffs. Escalante Decl. ¶ 3;

Hernandez Herrera Decl. ¶ 3; Sorokin Decl. ¶ 3; Dominguez Gonzalez Decl. ¶ 3; see also 445 F.

Supp. 3d at 751, supra note 26.

     Defendants should be, and are, aware of the danger posed by COVID-19 to individuals in its

care, and of the critical importance of boosters. As noted above, federal government officials as

well as the CDC have repeatedly made public announcements underscoring the vital role booster

shots play in protecting public health and mitigating the spread of COVID-19. Moreover, on

December 15, 2021, the American Civil Liberties Union (ACLU) sent a letter to DHS Secretary

Alejandro Mayorkas and ICE Acting Director Tae Johnson urging them to “take immediate action

to address” the agency’s failure to adopt and implement a booster shot plan “before further harm

is done to the people in ICE custody and the community at large.” 29 On January 26, 2022, Dr. Scott

Allen and Dr. Josiah Rich, who serve as medical experts for DHS, sent a letter to Secretary

Mayorkas and Acting Director Johnson, warning of the urgent need for ICE to provide COVID-



29
  Amazan Decl. Ex. W, Letter from ACLU, to DHS Secretary Mayorkas and ICE Acting
Director Johnson (Dec. 15, 2021), https://www.aclu.org/letter/letter-demanding-dhs-provide-
covid-19-vaccine-boosters-people-ice-detention.
                                                17
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19 vaccination and boosters to detainees. 30 And on February 15, 2022, the CDC itself updated its

official guidance for correctional and detention facilities, instructing that all people living and

working in these facilities should be ensured access to COVID-19 vaccines and boosters. 31


       2. Other Custodial Agencies Have Shown That Boosters Can Be Made Available,
          Underscoring ICE’s Failure.

       ICE’s ongoing failure to provide booster shots stands in contrast to the approach taken by

other custodial entities, including the Federal Bureau of Prisons (BOP) and state departments of

correction. The BOP’s COVID-19 Vaccine Guidance, issued on October 13, 2021, provides that

BOP would offer the Pfizer-BioNTech COVID-19 booster shot to individuals who were then

eligible for it under CDC guidance. 32 The District of Columbia’s Department of Corrections

announced on December 22, 2021 that it “continues to offer a COVID-19 vaccine to all residents

and is offering the booster to all residents who are eligible.” 33 Moreover, multiple state

departments of correction have administered many thousands of booster shots to people in their

custody. 34 For example, as of February 18, 2022, the Michigan Department of Corrections has


30
   Letter from Dr. Scott Allen and Dr. Josiah Rich, supra note 27.
31
   CDC, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
Correctional and Detention Facilities, supra note 4.
32
   Amazan Decl. Ex. X, Fed. Bureau of Prisons, Clinical Guidance, COVID-19 Vaccine
Guidance, Version 14.1, 5–6 (Oct. 13, 2021),
https://www.bop.gov/resources/pdfs/covid_19_vaccine_guidance_v14_0_2021.pdf.
33
   Amazan Decl. Ex. Y, Gov’t of the Dist. of Columbia, Dep’t of Corr., Coronavirus Prevention
(Dec. 22, 2021),
https://web.archive.org/web/20220205062215/https://doc.dc.gov/page/coronavirus-prevention.
34
   See, e.g., Amazan Decl. Ex. Z, Delaware Dep’t of Corr., Active COVID-19 Cases (Offenders),
https://doc.delaware.gov/assets/documents/Confirmed_COVID_Cases.pdf (updated Feb. 28,
2022) (noting that “1,593 vaccinated inmates have received a booster”); Amazan Decl. Ex. AA,
Missouri Dep’t of Corr., COVID-19 Data, https://doc.mo.gov/media-center/newsroom/covid-
19/data (last visited Feb. 28, 2022) (boosters administered to 4,158 inmates); Amazan Decl. Ex.
BB, Minnesota Dep’t of Corr., MN DOC COVID-19 Data Dashboard,
https://mn.gov/doc/about/covid-19-updates/ (last updated Feb. 24, 2022) (34 percent of
incarcerated population fully vaccinated and boosted).
                                                 18
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administered 11,398 booster shots to individuals in its custody (over a third of the total

incarcerated population of 32,273 people). 35

       ICE’s failure to provide COVID-19 vaccine boosters is not an anomaly for the agency.

ICE’s sluggish vaccine roll-out in 2021 does not bode well for people like Plaintiffs who rely on

Defendants to promptly provide them booster shots. As early as January 25, 2021, ICE

Enforcement and Removal Operations (ERO) suggested that the ICE Health Service Corps

(IHSC) add COVID-19 vaccine guidelines and protocols to the next version of the PRR, to

ensure “across the board implementation.” 36 As an ICE official stated in an email, “[u]ltimately

we should have a consistent, comprehensive rollout for all 200+ facilities within our detention

network [as] opposed to only IHSC staffed facilities.” 37 This email concerned ICE PRR version

6.0, but that document was not released until nearly two months later, on March 16, 2021. 38

What is more, the ICE PRR 6.0 did not, in fact, engage in any “consistent” or “comprehensive”

rollout at all, and the agency failed to supply detention facilities with vaccine doses, leaving

vaccine rollout up to each facility. 39 Defendants did not update their policy regarding vaccine

procurement until six months later, after a court order. 40

                                   II.    LEGAL STANDARD




35
   Amazan Decl. Ex. CC, Michigan.gov, COVID-19 Dashboard,
https://www.michigan.gov/coronavirus/0,9753,7-406-98178_103214-547150--,00.html (last
updated Feb. 25, 2022).
36
   Amazan Decl. Ex. DD, E-mail from Ricardo Wong, Dep. Asst. Dir., Detention Management
Division, to Ada Rivera, Dep. Assistant Dir. Clinical Services, ICE Health Services Corps (Jan.
25, 2021, 2:47 PM).
37
   Id.
38
   Amazan Decl. Ex. EE, ICE, ICE Pandemic Response Requirements (Version 6.0) (Mar. 16,
2021), https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities-
v6.pdf.
39
   Id. at 24.
40
   Fraihat v. ICE, No. 5:19-cv-1546-JGB-SHK (C.D. Cal. June 23, 2021), 2021 WL 2580512.
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        To obtain a temporary restraining order, a plaintiff “must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in his favor, and that an injunction is in the public

interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Aamer v. Obama, 742

F.3d 1023, 1038 (D.C. Cir. 2014); Sibley v. Obama, 810 F. Supp. 2d 309, 310 (D.D.C. 2011)

(articulating the elements of a temporary restraining order based on the preliminary injunction

standard). Courts in this Circuit have traditionally applied these factors on a sliding scale, where

a stronger showing on some factors can compensate for a weaker showing on others. See, e.g.,

Davenport v. Int’l Brotherhood of Teamsters, 166 F.3d 356, 360 (D.C. Cir. 1999). It has been

suggested, but not decided, that a likelihood of success on the merits may be required. See

Sherley v. Sebelius, 644 F.3d 388, 392–93 (D.C. Cir. 2011) (citing Winter, 555 U.S. at 20–22).

Under either approach, Plaintiffs make the necessary showing.

                                        III.    ARGUMENT

    A. Plaintiffs Are Likely to Succeed on the Merits.

        Plaintiffs are likely to establish that Defendants’ failure to provide them with COVID-19

vaccine booster shots poses an unreasonable risk to their health and constitutes punishment as it

lacks a rational relationship to any legitimate governmental interest, in violation of their Fifth

Amendment substantive due process rights.

        1. Defendants’ Failure to Provide COVID-19 Vaccine Booster Shots Violates
           Plaintiffs’ Substantive Due Process Rights Under the Fifth Amendment Because
           It Poses an Unreasonable Risk to Plaintiffs’ Health.

        Whenever the government detains or incarcerates someone, it has an affirmative duty to

provide conditions of reasonable health and safety as well as reasonably adequate medical care.

As the Supreme Court has explained, “when the State takes a person into its custody and holds

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him there against his will, the Constitution imposes upon it a corresponding duty to assume some

responsibility for his safety and general well-being.” DeShaney v. Winnebago Cnty. Dep’t of Soc.

Servs., 489 U.S. 189, 199–200 (1989). As a result, the government must provide those in its

custody with “food, clothing, shelter, medical care, and reasonable safety . . . .” Id. at 200.

       The Eighth Amendment prohibits the government from exposing prisoners to “an

unreasonable risk of damage to their health.” Banks v. Booth, 468 F. Supp. 3d 101, 110 (D.D.C.

2020), appeal dismissed, cause remanded, 3 F.4th 445 (D.C. Cir. 2021). The Eighth Amendment

similarly prohibits the government from disregarding a “serious medical need” that causes an

“excessive risk” to a prisoner’s health and safety. Baker v. Dist. of Columbia, 326 F.3d 1302,

1306 (D.C. Cir. 2003) (citing Farmer v. Brennan, 511 U.S. 825, 837 (1994)). To show a

violation of the Eighth Amendment, prisoners must demonstrate that a government official acted

with deliberate indifference, where the official had subjective knowledge of and recklessly

disregarded the excessive risk to the prisoner’s health or safety. Baker, 326 F.3d at 1306.

       The same basic principles apply to immigrant detainees, with an important distinction.

Plaintiffs are “civil immigration detainees . . . protected by the Fifth Amendment’s Due Process

Clause.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 210 (D.D.C. 2020). Like pre-trial detainees, civil

immigrant detainees “have not been convicted of any present crime,” and they “may not be

subjected to punishment of any description.” Id. As the Supreme Court concluded in Kingsley v.

Hendrickson, pre-trial detainees bringing excessive force claims need only demonstrate that the

use of force was objectively unreasonable. 576 U.S. 389, 397 (2015). Following the Supreme

Court’s instruction, this District has concluded that pre-trial detainees “do not need to show

deliberate indifference in order to state a due process claim for inadequate conditions of

confinement.” Banks, 468 F. Supp. 3d at 111. Instead, pre-trial detainees “need only show that



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prison conditions are objectively unreasonable in order to state a claim under the due process

clause.” Id. This test also applies to immigrant detainees. C.G.B., 464 F. Supp. 3d at 211 n.31

(“The Court is persuaded, both by the language of Kingsley and by its fellow courts, to apply the

Kingsley standard here as well. Accordingly, [p]laintiffs need not prove deliberate

indifference.”). Defendants thus violate Plaintiffs’ due process rights under the Fifth Amendment

when they “knew or should have known that the [detention] conditions posed an excessive risk

to their health and intentionally or recklessly failed to act.” Banks, 468 F. Supp. 3d at 111.

       Defendants’ failure to provide COVID-19 vaccine booster shots to Plaintiffs violates

their Fifth Amendment substantive due process rights. Defendants knew or should have known

that their failure to provide booster shots constitutes an unreasonable risk to Plaintiffs’ health,

and nevertheless failed to provide them. Defendants recklessly disregarded Plaintiffs’ serious

medical need for a COVID-19 vaccine booster shot.

           a. Defendants’ Failure to Provide COVID-19 Vaccine Booster Shots Poses an
              Unreasonable Risk to Plaintiffs’ Health.

       Defendants’ failure to provide COVID-19 booster shots constitutes an unreasonable risk

to Plaintiffs’ health. “Determining whether or not [p]laintiffs have been exposed to an

unreasonable risk is an objective analysis which ‘requires a court to assess whether society

considers the risk that the prisoner complains of to be so grave that it violates contemporary

standards of decency to expose anyone unwillingly to such a risk.’” Banks, 468 F. Supp. 3d at

111 (quoting Helling v. McKinney, 509 U.S. 25, 36 (1993)) (emphasis in original)). “In other

words, the [detainee] must show that the risk of which he complains is not one that today’s

society chooses to tolerate.” Helling, 509 U.S. at 36. Defendants may not impose conditions that

pose an unreasonable risk of future harm, even if that harm has not yet come to pass. “It would



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be odd to deny an injunction to inmates who plainly proved an unsafe, life-threatening condition

in their prison on the ground that nothing yet had happened to them.” Id. at 33.

       Defendants’ failure to provide booster shots exemplifies this unreasonable risk. As

numerous courts have concluded, failure to provide adequate protection against COVID-19 in

jail or detention poses an unreasonable risk to the health of detainees. See, e.g., Banks, 468 F.

Supp. 3d at 111; Ferreyra v. Decker, 456 F. Supp. 3d 538, 550 (S.D.N.Y. 2020) (“Petitioners

have established . . . that Respondents [(including ICE)] have left in place conditions of

confinement that result in COVID-19 posing an unreasonable risk of serious damage to their

health.”); Malam v. Adducci, 455 F. Supp. 3d 384, 395 (E.D. Mich. 2020) (same); Zepeda Rivas

v. Jennings, 445 F. Supp.3d 36, 40 (N.D. Cal. 2020) (same). This is true even if Defendants have

been taking other mitigation measures to reduce the risk of spread of COVID-19. First, the

evidence from multiple COVID-19 lawsuits targeting ICE detention facilities across the country,

as well as Plaintiffs’ declarations, demonstrate that any mitigation measures Defendants have

implemented are falling short of preventing spread of the virus in detention facilities. Second,

even if Defendants’ mitigation measures were working, Plaintiffs are still subject to a heightened

and unreasonable risk of serious illness or death from COVID-19 without booster shots because

of their medical vulnerabilities and by the very fact of their detention in congregate settings.

Mitigation measures to reduce the spread of COVID-19 are therefore not replacements for

booster shots in constitutional, or practical and medical, senses.

       As discussed above, it is well-established that the primary vaccination doses alone, absent

a booster shot, provide inadequate protection against COVID-19 because the immunity provided

by the initial vaccine doses wanes over time. Vijayan Decl. ¶¶ 21–24; Feigl-Ding Decl. ¶¶ 24-27.

Defendants’ failure to offer booster shots to Plaintiffs “prevent[s] Plaintiffs from being able to



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take the preventative and precautionary steps that the larger, non-detained population has been

able to take to slow the spread of COVID-19.” Banks, 468 F. Supp. 3d at 112. Moreover, booster

shots are even more critical in light the recent surge in COVID-19 cases caused by the highly

infectious Omicron variant and its subvariants. Vijayan Decl. ¶¶ 24–25, Feigl-Ding Decl. ¶¶ 28-

29, 31-35; Amazan Decl. Ex. P (Letter from Dr. Allen and Dr. Rich); Amazan Decl. Ex. O

(Letter from Concerned Medical Faculty). As a result, Defendants’ failure to provide COVID-19

vaccine booster shots to Plaintiffs constitutes an unreasonable risk to Plaintiffs’ health.

           b. Plaintiffs Have a “Serious Medical Need” for a COVID-19 Vaccine Booster
              Shot.

       Given that COVID-19 vaccine booster shots are necessary to protect the health and safety

of Plaintiffs and prevent serious illness or death from COVID-19, Plaintiffs have a serious

medical need for a COVID-19 vaccine booster shot.

       “A medical need is serious if it either is diagnosed by a physician as mandating treatment

or is so obvious that a lay person easily would recognize the necessity of a physician’s

attention.” Coleman-Bey v. United States, 512 F. Supp. 2d 44, 47 (D.D.C. 2007). Furthermore,

“[w]here denial or delay causes an inmate to suffer a life-long handicap or permanent loss, the

medical need is considered serious.” Oladokun v. Corr. Treatment Facility, 5 F. Supp. 3d 7, 15

n.9 (D.D.C. 2013). The well-known risks of serious illness, including hospitalization and death,

from COVID-19 for medically vulnerable individuals “easily push [Plaintiffs’] claim into the

category of serious medical needs.” Brown v. D.C., 514 F.3d 1279, 1284 (D.C. Cir. 2008).

       Numerous courts have concluded that vulnerability to COVID-19 constitutes a “serious

medical need.” Coronel v. Decker, 449 F. Supp. 3d 274, 283 (S.D.N.Y. 2020) (concluding that

immigrant detainees with medical vulnerabilities “have a serious medical need . . . to avoid

contracting [COVID-19] and thereby potentially suffering ‘death, degeneration, or extreme

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pain.’”); accord Coreas v. Bounds, 451 F. Supp. 3d 407, 426 (D. Md. 2020); Gayle v. Meade,

No. 20-21553-CIV, 2020 WL 3041326, at *18 (S.D. Fla. June 6, 2020), reconsideration denied,

No. 20-21553-CIV, 2021 WL 1255627 (S.D. Fla. Mar. 24, 2021). Moreover, courts have

determined that “the COVID-19 vaccine is a ‘serious medical need’” for people in custody.

Maney v. Brown, No. 6:20-CV-00570-SB, 2021 WL 354384, at *11 (D. Or. Feb. 2, 2021); see

also Patel v. Cnty. of Orange, No. 817CV01954JLSDFM, 2019 WL 4238875, at *6 (C.D. Cal.

June 19, 2019) (concluding, based on the Supreme Court’s holding in Helling, that “the exposure

to the risk of contracting hepatitis is enough to state an Eighth Amendment claim” that “the need

for vaccines to prevent the contraction of hepatitis logically is a ‘serious’ medical need”).

           c. Defendants Knew or Should Have Known That Their Failure to Provide
              COVID-19 Vaccine Booster Shots Posed an Excessive Risk to Plaintiffs’
              Health, and Recklessly Failed to Act.

       Defendants knew or should have known that failure to provide COVID-19 vaccine

boosters posed an excessive risk to Plaintiffs’ health. As explained above, to succeed on the

merits of their Fifth Amendment due process claim, pre-trial detainees need only “show[] that

the Defendants knew or should have known that the jail conditions posed an excessive risk to

their health and intentionally or recklessly failed to act.” Banks, 468 F. Supp. 3d at 111; see also

Miranda v. Cnty. of Lake, 900 F.3d 335, 352 (7th Cir. 2018) (concluding that “medical-care

claims brought by pretrial detainees . . . are subject only to the objective unreasonableness

inquiry identified in Kingsley”); Brawner v. Scott Cty., Tennessee, 14 F.4th 585, 596 (6th Cir.

2021) (same); Gordon v. Cnty. of Orange, 888 F.3d 1118, 1120, 1122–25 (9th Cir. 2018) (same);

Darnell v. Piniero, 849 F.3d 17, 34–35 (2d. Cir. 2017); but see Strain v. Regalado, 977 F.3d 984,

991 (10th Cir. 2020); Whitley v. City of St. Louis, 887 F.3d 857, 860 n.4 (8th Cir. 2018); Dang by




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& through Dang v. Sheriff, Seminole Cnty., 871 F.3d 1272, 1279 n.2 (11th Cir. 2017); Alderson

v. Concordia Parish Corr. Facility, 848 F.3d 415, 419 n.4 (5th Cir. 2017).

       Defendants have recklessly failed to provide COVID-19 booster shots to Plaintiffs. 41

They knew or should have known, based on the recurrent public recommendations discussed

above, that COVID-19 booster shots are necessary to provide Plaintiffs adequate protection

against COVID-19. See supra § I.A, II.C.1. These public announcements, made repeatedly by

the CDC and the federal government over the past several months, are sufficient to establish that

Defendants knew or should have known that the failure to provide COVID-19 vaccine booster

shots poses an excessive risk to Plaintiffs’ health. See, e.g., Farmer, 511 U.S. at 826 (“[A]

factfinder may conclude that the official knew of a substantial risk from the very fact that it was

obvious.”). By failing to provide booster shots to people in ICE detention, Defendants “have

disregarded those risks by failing to take comprehensive, timely, and proper steps to stem the

spread of the virus.” Banks, 468 F. Supp. 3d at 119.




41
   Because “[t]he civil law generally calls a person reckless who acts or (if the person has a duty
to act) fails to act in the face of an unjustifiably high risk of harm that is either known or so
obvious that it should be known,” Farmer, 511 U.S. at 836, “to establish that conditions of
confinement violate due process, a [pre-trial detainee] need establish only that detaining officials
know or should know that those conditions objectively constitute a serious risk to the defendant’s
health,” United States v. Otunyo, No. CR 18-251 (BAH), 2020 WL 2065041, at *13 (D.D.C.
Apr. 28, 2020).
                                                 26
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            d. While Plaintiffs Need Only Show that Defendants Recklessly Failed to Act
               under Kingsley, Defendants Also Had Subjective Knowledge of The Risk to
               Plaintiffs.

        Because Plaintiffs are civil immigrant detainees, they are not required to establish that

Defendants acted with deliberate indifference, a subjective intent or awareness of the risk of

harm posed to Plaintiffs by their failure to act, as is required for Eighth Amendment claims

brought by convicted prisoners. See Kingsley, 576 U.S. at 397; see also Banks, 468 F. Supp. 3d

at 110–11; C.G.B., 464 F. Supp. 3d at 211 n.31.

        However, even if Plaintiffs were required to demonstrate that Defendants had subjective

awareness of the risk posed by their failure to act, Defendants clearly were “aware of facts from

which the inference could be drawn that a substantial risk of serious harm exists” and “dr[ew] the

inference.” Farmer, 511 U.S. at 837. Plaintiffs are not required to “show that [Defendants] acted

or failed to act believing that harm actually would befall an inmate; it is enough that the official

acted or failed to act despite his knowledge of a substantial risk of serious harm.” Id. at 842.

        Defendants have acknowledged the threat of COVID-19 in their own policy documents, 42

and is aware of over 5,200 medically vulnerable detainees in custody whom they have declined

to release after administrative review of their files, including Plaintiffs. 43 See supra § I.C.1. In

addition, as noted above, the ACLU sent Defendants a letter in December 2021 regarding the

importance of booster shots to detainees, as did DHS’s own medical experts in January 2022. 44

Recently, five medically vulnerable detained immigrants sued Defendants ICE and DHS over the


42
   ICE, ICE ERO COVID-19 Pandemic Response Requirements (Version 7.0), supra note 22 at
6–7.
43
   Fraihat, 445 F. Supp. 3d at 751, supra note 24; Galvez-Montoya, Coronavirus Infections
inside U.S. Detention Surge by 520 Percent in 2022, supra note 8.
44
   Letter from ACLU to Sec. Alejandro Mayorkas, COVID-19 Vaccine Booster Availability in
ICE Detention Facilities (Dec. 15, 2021), supra note 28; Letter from Dr. Scott Allen and Josiah
Rich (Jan. 26, 2022), supra note 29.
                                                   27
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failure to provide them with COVID-19 booster shots, directly prompting ICE to administer

boosters to those five individuals. 45 As a result, Defendants’ subjective awareness of the

substantial risk of harm that Plaintiffs would face without a COVID-19 booster shot, and their

failure to act demonstrate Defendants’ deliberate indifference.

        2. Defendants’ Failure to Provide COVID-19 Boosters Constitutes Punishment in
           Violation of Plaintiffs’ Fifth Amendment Substantive Due Process Rights.

        Because Plaintiffs are civil immigration detainees, they cannot be subject to conditions

that constitute punishment. See Bell v. Wolfish, 441 U.S. 520, 535 (1979). Defendants’ failure to

provide COVID-19 booster shots to Plaintiffs constitutes unlawful punishment and violates

Plaintiffs’ due process rights because their inaction is not “rationally related to a legitimate

nonpunitive government purpose or . . . appear[s] excessive in relation to that purpose.” C.G.B.,

464 F. Supp. 3d. at 211 (quoting Kingsley, 576 U.S. at 398); see also S. Poverty Law Ctr. v. U.S.

Dep’t of Homeland Sec., 2020 WL 3265533, *18 (D.D.C. June 17, 2020) (considering whether

the contested condition “is objectively unreasonable or excessive relative to the Government’s

proffered justification.”).

        As medically vulnerable individuals, Plaintiffs are at risk of serious illness or death if

they contract COVID-19, which is highly likely to occur in ICE detention. Vijayan Decl. ¶¶ 7,

15–17. ICE’s failure to provide a COVID-19 vaccine booster shot exposes Plaintiffs to the

avoidable risks of hospitalization and death from COVID-19, and lacks any relation to any

legitimate interest held by the government. As an initial matter, Defendants’ responsibility to

provide detainees “with medical care ordinarily does not conflict with competing administrative

concerns.” Hudson v. McMillian, 503 U.S. 1, 6 (1992) (citing Whitley v. Albers, 475 U.S. 312,


45
  See Shaikh v. U.S. Immigr. & Customs Enf’t, No. 1:22-cv-00231 (D.D.C. Feb. 24, 2022), Dkt.
23.
                                                  28
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320 (1986)). Failure to provide a vaccine booster shot to detained immigrants, moreover, is not

rationally related to either of the government’s interests in ensuring appearance at future

immigration proceedings or preventing danger to the community. Zadvydas v. Davis, 533 U.S.

678, 690 (2001). Moreover, providing COVID-19 vaccine booster shots to people in immigration

detention does not in any way impede those goals. In fact, Defendants’ failure to provide booster

shots may even run counter to their interests, as quarantine protocols due to infection or facility

outbreaks have precluded detained immigrants from appearance in court proceedings. 46

        Nor can Defendants argue that their failure to provide Plaintiffs with vaccine booster

shots is justified by an interest in saving costs. It is well-established that budgetary interests

cannot justify denial of care for a detainee’s serious medical needs. Peralta v. Dillard, 744 F.3d

1076, 1083 (9th Cir. 2014) (“Lack of resources is not a defense to a claim” for lack of medical

care) (en banc) (citations omitted); Wright v. Rushen, 642 F.2d 1129, 1134 (9th Cir. 1981)

(“[C]osts cannot be permitted to stand in the way of eliminating conditions below Eighth

Amendment standards.”); Koselik v. Maloney, 221 F. Supp. 2d 156, 161 (D. Mass. 2002) (“It is

not, however, permissible to deny an inmate adequate medical care because it is costly.”). As

discussed in detail above, it is beyond dispute that protection from COVID-19, particularly for

medically vulnerable individuals, constitutes a “serious medical need.” See, e.g., Banks, 459 F.

Supp. 3d at 155 (noting lack of dispute regarding the threat of COVID-19 to the health of people

in detention); see also supra § III.A.1.b.


46
  Amazan Decl., Ex. FF, Marissa Armas, ‘Putting Our Lives At Risk’: Detainees at Aurora
Facility Claim COVID Prolongs Stay, CBS4 NEWS (Jan. 20, 2022),
https://denver.cbslocal.com/2022/01/20/covid-aurora-ice-detention-facility/; Amazan Decl., Ex.
GG, Sofia Mejias-Pascoe, COVID-19 Cases at San Diego Detention Center Reach All-Time
High, INEWSOURCE (Jan. 18, 2022), https://inewsource.org/2022/01/18/covid-19-cases-san-
diegos-ice-detention-center.



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        Defendants’ failure to provide COVID-19 booster doses to detained immigrants, such as

Plaintiffs, is also unreasonable in light of the policies and programs established by other

custodial entities, such as the BOP and state departments of correction, to provide booster shots

to prisoners. Where civil detainees, such as Plaintiffs, face conditions that are “not more

considerate than those at pretrial and prison facilities,” such conditions “may be punitive in

nature and may therefore violate the substantive due process clause.” S. Poverty Law Ctr., 2020

WL 3265533, at *19 (quoting Torres v. United States Dep’t of Homeland Sec., 411 F. Supp. 3d

1036, 1065 (C.D. Cal. 2019)); Jones v. Blanas, 393 F.3d 918, 934 (9th Cir. 2004) (“[A]

presumption of punitive conditions arises where the individual is detained under conditions

identical to, similar to, or more restrictive than those under which pretrial criminal detainees are

held.”). Unlike ICE’s PRR, the BOP’s October 2021 COVID-19 Vaccine guidance instructed its

facilities nationwide to provide booster doses to eligible prisoners. 47 The District of Columbia

Department of Corrections issued similar guidance in December 2021, noting that it “continues

to offer a COVID-19 vaccine to all residents who are eligible.” 48 State departments of correction

have likewise issued similar guidance, and have reported provision of booster shots to thousands

of incarcerated individuals. 49 Defendants’ failure to provide booster shots, in light of conditions

in prisons, is therefore unconstitutionally punitive, in violation of Plaintiffs’ due process rights.

     B. The Remaining Factors Weigh Heavily in Plaintiffs’ Favor.

        1. The Denial of Readily Available Protection from a Lethal Virus Constitutes


47
   Fed. Bureau of Prisons, COVID-19 Vaccine Guidance, Version 14.1, 5–6, supra note 32.
48
   Gov’t of the Dist. of Columbia, Coronavirus Prevention, supra note 33.
49
   Delaware Dep’t of Corr., Active COVID-19 Cases (Offenders), supra note 34 (noting that
“1,593 vaccinated inmates have received a booster”); Missouri Dep’t of Corr., COVID-19 Data,
supra note 34 (boosters administered to 4,158 inmates); Minnesota Dep’t of Corr., COVID-19
Data, supra note 34 (33 percent of incarcerated population fully vaccinated and boosted);
Michigan.gov, COVID-19 Dashboard, supra note 35 (boosters administered to 11,398
incarcerated individuals).
                                                  30
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           Irreparable Harm.

       A temporary restraining order or preliminary injunction “requires only a likelihood of

irreparable injury.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 8–9 (D.C. Cir. 2016)

(citing Winter, 555 U.S. at 22), and while the harm must be “imminent,” that means only that

there must be “a clear and present need for equitable relief to prevent irreparable harm.” Id. at 8.

(quoting Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)).

The harm also “must be beyond remediation.” Id. (quoting Chaplaincy of Full Gospel Churches,

454 F.3d at 297).

       This district has already concluded that an individual’s “risk of contracting COVID-19

and the resulting complications, including the possibility of death, is the prototypical irreparable

harm.” Banks, 459 F. Supp. 3d at 159 (citing Harris v. Bd. of Supervisors, Los Angeles Cnty.,

366 F.3d 754, 766 (9th Cir. 2004)). Indeed, courts in this district have “often [found] a showing

of irreparable harm where the movant’s health is in imminent danger.” Al-Joudi v. Bush, 406 F.

Supp. 2d 13, 20 (D.D.C. 2005) (citation omitted) (granting preliminary injunction where

government was allegedly denying medical treatment to Guantanamo detainees and “the threat of

death or serious physical deterioration [was] real and imminent”); Wilson v. Group Hosp. &

Med. Servs., Inc., 791 F. Supp. 309, 314 (D.D.C. 1992) (granting preliminary injunction where

cancer patient's “health and future remain[ed] in serious doubt”); see also, e.g., Banks, 459 F.

Supp. 3d at 159 (granting preliminary injunction where incarcerated plaintiffs “produced expert

evidence that they are ‘at a significantly higher risk of infection with COVID-19 as compared to

the population in the community’ and ‘at a significantly higher risk of harm if they do become

infected’”).




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       Here, Plaintiffs have submitted evidence describing their medical vulnerability to

COVID-19, the danger they face from Defendants’ failure to provide them with COVID-19

vaccine booster shots, and their desire for protection via vaccine booster shot. See Escalante

Decl. ¶¶ 6–8; Hernandez Herrera Decl. ¶¶ 7–10; Sorokin Decl. ¶¶ 7–10; Dominguez Gonzalez

Decl. ¶¶ 7–8.; see also Vijayan Decl ¶¶ 19–20, 27. According to ICE’s own data, 1,001 people in

ICE detention facilities as of February 28, 2022 are currently positive for COVID-19,

compromising over five percent of all detainees in custody. 50 Individuals held in ICE detention

are also more likely to contract COVID-19 than in the surrounding community. Certain

mitigation measures to reduce the spread of COVID-19 that Defendants may have been taking

have proven inadequate to sufficiently shield Plaintiffs from the risk of contracting COVID-19

while in detention. As a recent study has shown, COVID-19 case rates in ICE detention were, on

average at least 5.3 times higher than in the state-matched U.S. population. 51 ICE detainees

report other detainees who have recently contracted COVID-19 in their detention facilities,

including individuals who requested but were denied booster shots and subsequently fell ill with

COVID-19. See Sorokin Decl. ¶ 8; Dominguez Gonzalez Decl. ¶ 7. As noted above, without the

requested relief, Plaintiffs are approximately three and a half times more likely to be hospitalized

and four times more likely to die from COVID-19 because of ICE’s failure to provide them

COVID-19 booster shots. Feigl-Ding Decl. ¶ 26. Such injuries are also indisputably “beyond

remediation” because the harms from unlawful conditions of detention “cannot be remedied after

the fact.” R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (citations omitted).

       2. The Balance of Equities and Public Interest Weigh Heavily in Plaintiffs’ Favor.


50
  ICE, ICE Guidance on COVID-19: Detainee Statistics, supra note 2.
51
  Nishant Uppal, Elizabeth Chin, and Parsa Erfani, Trends in Decarceration, COVID-19 Cases,
and SARS-CoV-2 Testing in U.S. Immigration Detention Centers from September 2020 to August
2021, supra note 11.
                                                32
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       The final two factors—balance of the equities and the public interest—merge in this case,

as Defendants are government actors. Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016). These factors also favor Plaintiffs. As discussed above, Plaintiffs have

established a likelihood that they will prevail on the merits of their due process claims, and “[i]t

is always in the public interest to prevent the violation of a party’s constitutional rights.” Banks,

459 F. Supp. 3d at 160 (citing Simms v. Dist. of Columbia, 872 F. Supp. 3d 90, 105 (D.D.C.

2012)). In other words, “[t]here is no harm to the Government when a court prevents unlawful

practices.” Id.; see also R.I.L-R, 80 F. Supp. 3d at 191.

       Moreover, “granting injunctive relief which lessens the risk that Plaintiffs will contract

COVID-19 is in the public interest because it supports public health.” Banks, 459 F. Supp. 3d at

160. As the Banks court aptly described, “[n]o man’s health is an island.” Id. Booster shots

promote public health by reducing the risk of COVID-19 to Plaintiffs and others detained in the

facilities, which also minimizes transmission risk to staff members and local communities.

Vijayan Decl. ¶¶ 17–18; Feigl-Ding Decl. ¶¶ 8, 24, 35. New variants of COVID-19, including

the Omicron subvariant BA.2, have and will inevitably continue to arise. Feigl-Ding Decl. ¶¶ 7,

21–23; 31–33; Vijayan Decl. ¶ 13. At a time when community resources are still limited and the

overall healthcare infrastructure heavily strained, it would also benefit the public to prevent

Plaintiffs from suffering serious COVID-19 complications which may require hospitalization.

Vijayan Decl. ¶¶ 10–12, 17, 27. Thus, ordering Defendants to take the basic precaution of

providing COVID-19 vaccine booster shots to protect Plaintiffs from risk of infection and

serious illness also benefits the public. Banks, 459 F. Supp. 3d at 160.

       Lastly, the modest requested relief does not impose an undue burden on Defendants.

COVID-19 vaccine booster shots, including mRNA vaccine booster shots, are widely available

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to the U.S. public. Defendants, as federal government agencies, should have unparalleled

immediate access to these vaccines. 52 Vijayan Decl. ¶ 25; Feigl-Ding Decl. ¶ 25. When

endorsing the clinical preference for mRNA vaccines, the CDC noted that “[t]he U.S. supply of

mRNA vaccines is abundant – with nearly 100 million doses in the field for immediate use.” 53

Vijayan Decl. ¶ 25. This Court would not be ordering Defendants to provide any protection that

has not already been made available to the broader, non-detained public. Further, by undertaking

this simple task of providing booster shots, Defendants will benefit in the long run with fewer

detainees becoming infected and becoming very sick from COVID-19, thereby freeing up

healthcare and staffing resources. Id. ¶ 17.

       In light of the grave and irreparable harm Plaintiffs face, ordering Defendants to merely

comply with the CDC’s recommendations and provide COVID-19 booster shots to Plaintiffs is

not only appropriate but imperative.

                                       IV.     CONCLUSION

       For the aforementioned reasons, Plaintiffs respectfully request that this Court issue a

temporary restraining order directing Defendants to make available and provide each of them

with an mRNA COVID-19 vaccine booster shot by a qualified medical professional, along with

adequate education, pre-vaccination consultation, and documentation in accordance with the

CDC’s guidance on COVID-19 vaccine booster shots.



52
   Amazan Decl. Ex. HH, Tom Randall, Cedric Sam, et al., More Than 10.7 Billion Shots Given:
COVID-19 Tracker, BLOOMBERG https://www.bloomberg.com/graphics/covid-vaccine-tracker-
global-distribution/ (updated Feb. 28, 2022) (noting “93.5 million have received boosters,” states
have 11 to 34 percent of vaccine supply unused, and “[t]he U.S. has pledged to send 1.1 billion
doses to other hard-hit regions of the world . . . .”).
53
   Amazan Decl. Ex. II, CDC, CDC Endorses ACIP’s Updated COVID-19 Vaccine
Recommendations (Dec. 16, 2021), https://www.cdc.gov/media/releases/2021/s1216-covid-19-
vaccines.html#.
                                                 34
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Respectfully submitted,

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